 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 1 of 122 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 AMERICAN PATENTS LLC,
                                                      CIVIL ACTION NO. 4:21-cv-718
      Plaintiff,
                                                      ORIGINAL COMPLAINT FOR
        v.                                            PATENT INFRINGEMENT

 SEIKO EPSON CORPORATION and                          JURY TRIAL DEMANDED
 EPSON PRECISION PHILIPPINES, INC.,


      Defendants.


                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff American Patents LLC (“American Patents” or “Plaintiff”) files this original

complaint against Defendants Seiko Epson Corporation and Epson Precision Philippines, Inc.

(collectively, “Epson”), alleging, based on its own knowledge as to itself and its own actions and

based on information and belief as to all other matters, as follows:

                                            PARTIES

       1.      American Patents is a limited liability company formed under the laws of the

State of Texas, with its principal place of business at 2325 Oak Alley, Tyler, Texas, 75703.

       2.      Seiko Epson Corporation is a corporation duly organized and existing under the

laws of Japan having a place of business at 3-3-5 Owa Suwa-Shi, Nagano-Ken 392-8502, Japan.

       3.      Epson Precision Philippines, Inc. is a corporation duly organized and existing

under the laws of the Philippines having a place of business at SEPZ, Lima Technology Center,

Lipa City Batangas Province, 4217 Philippines.

       4.      The defendants identified in paragraphs 2-3 above (collectively “Epson and its

affiliates”) are part of an interrelated group of companies which together comprise one of the
 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 2 of 122 PageID #: 2




world’s largest manufacturers of consumer and commercial products, including under the Seiko

and Epson brands.

       5.      Epson and its affiliates are part of the same corporate structure and distribution

chain for the making, importing, offering to sell, selling, and using of the accused devices in the

United States, including in the State of Texas generally and this judicial district in particular.

       6.      Epson and its affiliates share the same management, common ownership,

advertising platforms, facilities, distribution chains and platforms, and accused product lines and

products involving related technologies.

       7.      Epson and its affiliates regularly contract with customers regarding equipment or

services that will be provided by their affiliates on their behalf.

       8.      Thus, Epson and its affiliates operate as a unitary business venture and are jointly

and severally liable for the acts of patent infringement alleged herein.

                                 JURISDICTION AND VENUE

       9.      This is an action for infringement of United States patents arising under 35 U.S.C.

§§ 271, 281, and 284–85, among others. This Court has subject matter jurisdiction of the action

under 28 U.S.C. § 1331 and § 1338(a).

       10.     This Court has personal jurisdiction over Epson pursuant to due process and/or

the Texas Long Arm Statute because, inter alia, (i) Epson has done and continues to do business

in Texas; and (ii) Epson has committed and continues to commit acts of patent infringement in

the State of Texas, including making, using, offering to sell, and/or selling accused products in

Texas, and/or importing accused products into Texas, including by Internet sales and sales via

retail and wholesale stores, inducing others to commit acts of patent infringement in Texas,

and/or committing a least a portion of any other infringements alleged herein. In the alternative,



                                                   2
 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 3 of 122 PageID #: 3




Seiko Epson Corporation and Epson Precision Philippines, Inc. are subject to this Court’s

specific personal jurisdiction consistent with the principles of due process and the Federal Long-

Arm Statute of Fed. R. Civ. P. 4(k)(2) because: (1) they have substantial contacts with the United

States and committed and/or induced acts of patent infringement in the United States; and (2)

they are not subject to jurisdiction in any state’s courts of general jurisdiction.

       11.     Venue is proper as to Seiko Epson Corporation, which is organized under the laws

of Japan. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in the United States

may be sued in any judicial district, and the joinder of such a defendant shall be disregarded in

determining where the action may be brough with respect to other defendants.”

       12.     Venue is proper as to Epson Precision Philippines, Inc., which is organized under

the laws of the Philippines. 28 U.S.C. § 1391(c)(3) provides that “a defendant not resident in the

United States may be sued in any judicial district, and the joinder of such a defendant shall be

disregarded in determining where the action may be brough with respect to other defendants.”

                                          BACKGROUND

       13.     The patents-in-suit generally pertain to communications networks and other

technology used in “smart” devices such as smartphones, smart TVs, and smart appliances. The

technology disclosed by the patents was developed by personnel at Georgia Institute of

Technology (“Georgia Tech”) and Nokia Corporation (“Nokia”).

       14.     Georgia Tech is a leading public research university located in Atlanta, Georgia.

Founded in 1885, Georgia Tech is often ranked as one of the top ten public universities in the

United States. The patents from Georgia Tech (“the Mody patents”) were developed by a

professor and a graduate student in Georgia Tech’s Electrical and Computer Engineering




                                                   3
 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 4 of 122 PageID #: 4




department. The undergraduate and graduate programs of this department are often ranked in the

top five of their respective categories.

       15.     The Mody patents are related to Multi-Input, Multi-Output (MIMO) technology.

The inventors of the Mody patents were at the forefront of MIMO, developing, disclosing, and

patenting a solution for achieving both time and frequency synchronization in MIMO systems.

The Mody patents (or the applications leading to them) have been cited during patent prosecution

hundreds of times, by numerous leading companies in the computing and communications

industries, including AMD, Alcatel Lucent, Altair, AT&T, Atheros, Blackberry, Broadcom,

Comcast, Ericsson, Facebook, HP, Hitachi, Huawei, Infineon, Intel, Interdigital, IBM, Kyocera,

Marvell, Matsushita, Mediatek, Motorola, NEC, Nokia, Nortel Networks, NXP, Panasonic,

Philips, Qualcomm, Realtek, Samsung, Sanyo, Sharp, Sony, STMicroelectronics, Texas

Instruments, and Toshiba.

       16.     Nokia is a Finnish multinational telecommunications, IT, and consumer

electronics company. Listed on both the Helsinki Stock Exchange and the New York Stock

Exchange, Nokia regularly makes the Fortune Global 500. Nokia has been the largest worldwide

vendor of mobile phones and smartphones and has been a major contributor to the mobile phone

industry.

       17.     The patent developed at Nokia (“the Rauhala patent”) is related to reduction of

interference in receivers with multiple antennas. The inventors of the Rauhala patent have a

combined fifty plus years of experience at Nokia and were prolific inventors for Nokia. Inventor

Jyri Rauhala spent over 25 years at Nokia. Mr. Rauhala obtained a Master of Science in Applied

Electronics, Digital Electronics from Tampere University of Technology in Finland and is named

as an inventor on 15 U.S. patents. Inventor Olli-Pekka Lunden spent over 8 years at Nokia. Dr.



                                                4
 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 5 of 122 PageID #: 5




Lunden obtained a Doctor of Science in Technology, Radio Engineering from Aalto University

and is named as an inventor on 5 U.S. patents. Currently, Dr. Lunden works as a university

lecturer at Tampere University of Technology in Finland. Inventor Marko Erkkila spent over

twenty years at Nokia. Mr. Erkkila obtained a Master of Science in Digital Signal Processing,

Electronics, Computer Science from Tampere University of Technology in Finland and is named

as an inventor on 6 U.S. patents.

                                            COUNT I

                     INFRINGEMENT OF U.S. PATENT NO. 7,088,782

       18.     On August 8, 2006, United States Patent No. 7,088,782 (“the ‘782 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       19.     American Patents is the owner of the ‘782 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘782 Patent against infringers, and to collect damages for all relevant times.

       20.     Epson used products and/or systems including, for example, its Epson EpiqVision

Mini EF12 Smart Streaming Laser Projector, Epson PowerLite 1288 Full HD 1080p Meeting

Room Projector with Built-in Wireless and Miracast, and Epson Moverio BT-40S Smart Glasses

with Intelligent Touch Controller families of products that include 802.11n and above

capabilities (“accused products”):




                                                 5
 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 6 of 122 PageID #: 6




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-350-Smart-

Glasses/p/V11H837020)




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 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 7 of 122 PageID #: 7




(Source : https://epson.com/For-Work/Projectors/Meeting-Room/PowerLite-1288-Full-HD-

1080p-Meeting-Room-Projector-with-Built-in-Wireless-and-Miracast/p/V11H978120)




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 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 8 of 122 PageID #: 8




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-40S-Smart-

Glasses-with-Intelligent-Touch-Controller-/p/V11H969120)




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 Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 9 of 122 PageID #: 9




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 10 of 122 PageID #: 10




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 11 of 122 PageID #: 11




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 12 of 122 PageID #: 12




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)

       21.     By doing so, Epson has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 30 of the ‘782 Patent. Epson’s infringement in this regard is ongoing.



                                                12
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 13 of 122 PageID #: 13




       22.    Epson has infringed the ‘782 Patent by using the accused products and thereby

practicing a method for synchronizing a Multi-Input Multi-Output (MIMO) Orthogonal

Frequency Division Multiplexing (OFDM) system in time and frequency domains. For example,

the accused products support IEEE 802.11 n/ac standards and MIMO technology. According to

the IEEE 802.11n standard, the PLCP Protocol Data Unit (PPDU) has training fields and

signaling fields for helping in synchronizing the communication system.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 14 of 122 PageID #: 14




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 15 of 122 PageID #: 15




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 16 of 122 PageID #: 16




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            16
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 17 of 122 PageID #: 17




        (Source: https://www.cnrood.com/en/media/solutions/Wi-

        Fi_Overview_of_the_802.11_Physical_Layer.pdf)

        23.     The methods practiced by Epson’s use of the accused products include producing

a frame of data comprising a training symbol that includes a synchronization component that aids

in synchronization, a plurality of data symbols, and a plurality of cyclic prefixes. For example,

as part of the 802.11n standard, two preamble formats are defined for frames: HT-mixed format

and HT-greenfield format. The non-HT and HT-mixed format preambles consist of training

symbols, data symbols and guard intervals/cyclic prefixes, and the training symbols (L-STF and

L-LTF fields) are and have been used for frame synchronization. Alternatively, on request from

accused products, an 802.11 n/ac compliant WiFi access point can act as a transmitter and

perform the step of producing a frame of data comprising a training symbol that includes a

synchronization component that aids in synchronization, a plurality of data symbols, and a

plurality of cyclic prefixes.


                                                17
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 18 of 122 PageID #: 18




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            18
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 19 of 122 PageID #: 19




       (Source: https://www.cnrood.com/en/media/solutions/Wi-

       Fi_Overview_of_the_802.11_Physical_Layer.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       24.    The methods practiced by Epson’s use of the accused products include

transmitting the frame over a channel. The data frames containing the preambles are transmitted

using one or more transmitting antennas. Alternatively, on request from an accused product, an

802.11 n/ac compliant WiFi access point can act as a transmitter and transmit the frame over a

channel using one or more transmitting antennas.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 20 of 122 PageID #: 20




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       25.     The methods practiced by Epson’s use of the accused products include receiving

the transmitted frame. For example, the receiving antennas of the accused products can receive

the transmitted frames for further processing.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       26.     The methods practiced by Epson’s use of the accused products include

demodulating the received frame. For example, the received data frames are demodulated using

the PLCP preambles.

                                                 20
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 21 of 122 PageID #: 21




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       27.     The methods practiced by Epson’s use of the accused products include

synchronizing the received demodulated frame to the transmitted frame such that the data

symbols are synchronized in the time domain and frequency domain. For example, different

fields of data like training symbols, cyclic prefixes and other signal bits are present in the

received frame. The training symbols (L-STF and L-LTF fields) help in synchronizing the frame

in both the time domain and frequency domain.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 22 of 122 PageID #: 22




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 23 of 122 PageID #: 23




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 24 of 122 PageID #: 24




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 25 of 122 PageID #: 25




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 26 of 122 PageID #: 26




(Source: https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf)

       28.    The methods practiced by Epson’s use of the accused products include wherein

the synchronizing in the time domain comprises coarse time synchronizing and fine time

synchronizing. For example, the demodulation of PPDU frames also includes detecting training

field bits and establishing a timing synchronization. This time synchronization would include

both coarse and fine time synchronization. In general, coarse time synchronization is done using

L-STF field and fine time synchronization is done using L-LTF field present in the preamble.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 27 of 122 PageID #: 27




       (Source: Introduction to MIMO Communications, Hampton, Jerry R. (2014))




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       29.     Epson has had actual knowledge of the ‘782 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Epson will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘782 Patent.




                                                27
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 28 of 122 PageID #: 28




       30.     Epson has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘782 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       31.     American Patents has been damaged as a result of the infringing conduct by

Epson alleged above. Thus, Epson is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       32.     American Patents has neither made nor sold unmarked articles that practice the

‘782 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘782 Patent.

                                            COUNT II

                     INFRINGEMENT OF U.S. PATENT NO. 7,310,304

       33.     On December 18, 2007, United States Patent No. 7,310,304 (“the ‘304 Patent”)

was duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Estimating Channel Parameters in Multi-Input, Multi-Output (MIMO) Systems.”

       34.     American Patents is the owner of the ‘304 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘304 Patent against infringers, and to collect damages for all relevant times.

       35.     Epson made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Epson EpiqVision

Mini EF12 Smart Streaming Laser Projector, Epson PowerLite 1288 Full HD 1080p Meeting

Room Projector with Built-in Wireless and Miracast, and Epson Moverio BT-40S Smart Glasses




                                                 28
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 29 of 122 PageID #: 29




with Intelligent Touch Controller families of products that include 802.11n and above

capabilities (“accused products”):




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-350-Smart-

Glasses/p/V11H837020)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 30 of 122 PageID #: 30




(Source : https://epson.com/For-Work/Projectors/Meeting-Room/PowerLite-1288-Full-HD-

1080p-Meeting-Room-Projector-with-Built-in-Wireless-and-Miracast/p/V11H978120)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 31 of 122 PageID #: 31




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-40S-Smart-

Glasses-with-Intelligent-Touch-Controller-/p/V11H969120)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 32 of 122 PageID #: 32




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 33 of 122 PageID #: 33




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 34 of 122 PageID #: 34




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 35 of 122 PageID #: 35




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)

       36.     By doing so, Epson has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘304 Patent. Epson’s infringement in this regard is ongoing.



                                                35
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 36 of 122 PageID #: 36




       37.     Epson has infringed the ‘304 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an Orthogonal

Frequency Division Multiplexing (OFDM) transmitter. For example, the accused products

support IEEE 802.11 n/ac standards and MIMO technology. The IEEE 802.11n standard “uses

OFDM modulation to transmit all data.”




       (Source:

       http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

       mimo/Content/mimo_80211n_overview.htm)

       38.     The accused products include an encoder configured to process data to be

transmitted within an OFDM system, the encoder further configured to separate the data onto

one or more transmit diversity branches (TDBs). For example, the 802.11 ac standard is

backwards compatible with 802.11n and 802.11a. Thus, if a device, such as an accused product,

implements 802.11ac, then it also supports 802.11n and all previous versions of the WiFi

standards (i.e., IEEE 802.11 a/b/g/n). According to the IEEE 802.11n standard, an encoder block

is present in a transmitter section of general OFDM systems. The encoder(s) output(s) the data

onto multiple transmit chains (transmit diversity branches) for further processing.



                                                36
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 37 of 122 PageID #: 37




     (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




     (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




                                           37
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 38 of 122 PageID #: 38




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            38
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 39 of 122 PageID #: 39




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       39.     The accused products include one or more OFDM modulators, each OFDM

modulator connected to a respective TDB, each OFDM modulator configured to produce a frame

including a plurality of data symbols, a training structure, and cyclic prefixes inserted among the

data symbols. For example, according to the IEEE 802.11n standard, a transmitter block would

contain different functional blocks which include constellation mappers, IDFT stage, and Guard

interval insertion. The constellation mapper maps the bits and the constellation points for

different modulation schemes like QPSK, BPSK, 16-QAM, and 64-QAM. Hence, there would

be modulator blocks for performing the modulation. After modulating the signal, it is converted




                                                39
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 40 of 122 PageID #: 40




into the time domain and is transmitted as frames of data. These transmitted frames include a

training structure, signal bits, cyclic prefixes and data bits.




        (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 41 of 122 PageID #: 41




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            41
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 42 of 122 PageID #: 42




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       40.    The accused products include one or more transmitting antennas in

communication with the one or more OFDM modulators, respectively, each transmitting antenna

configured to transmit the respective frame over a channel. The accused products support 802.11

a/b/g/n/ac WiFi standards and comprise one or more transmitting and one or more receiving

antennas. These transmitting antennas transmit multiple OFDM frames with various signal

fields over a channel. Thus, these transmitting antennas are connected to the OFDM modulators

to obtain the OFDM frames for further transmission.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 43 of 122 PageID #: 43




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 44 of 122 PageID #: 44




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 45 of 122 PageID #: 45




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 46 of 122 PageID #: 46




(Source: http://rfmw.em.keysight.com/wireless/helpfiles/89600b/webhelp/subsystems/wlan-

mimo/Content/mimo_80211n_overview.htm)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       41.     The accused products include wherein the training structure of each frame

includes a predetermined signal transmission matrix at a respective sub-channel, each training


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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 47 of 122 PageID #: 47




structure adjusted to have a substantially constant amplitude in a time domain, and the cyclic

prefixes are further inserted within the training symbol, and wherein the cyclic prefixes within

the training symbol are longer than the cyclic prefixes among the data symbols, thereby

countering an extended channel impulse response and improving synchronization performance.

For example, a space time matrix is part of the data symbols and the training symbols in the

transmission data. This data is transmitted over different antennas. The WiFi standards use

guard intervals while transmitting frames to help the synchronization of frames at the receiver

end. These guard intervals are of different lengths for the preamble and data symbols. The

screenshots below show the Guard interval in the Long Training Field is 1.6 micro seconds, and

the data field uses a Short guard interval of 0.4 micro seconds, so the cyclic prefix for the

training symbols is longer than the cyclic prefix for data symbols. The training symbols (L-STF,

HT-STF fields) in the 802.11n preamble have a constant amplitude in the time domain.




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 48 of 122 PageID #: 48




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 49 of 122 PageID #: 49




(Source: http://www.ahltek.com/WhitePaperspdf/802.11-20%20specs/802.11a-1999.pdf)




(Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and Stacey,

Robert)



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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 50 of 122 PageID #: 50




       42.     Epson has had actual knowledge of the ‘304 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Epson will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘304 Patent.

       43.     Epson has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘304 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       44.     American Patents has been damaged as a result of the infringing conduct by

Epson alleged above. Thus, Epson is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       45.     American Patents has neither made nor sold unmarked articles that practice the

‘304 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘304 Patent.

                                           COUNT III

                     INFRINGEMENT OF U.S. PATENT NO. 7,706,458

       46.     On April 27, 2010, United States Patent No. 7,706,458 (“the ‘458 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Time And Frequency Synchronization In Multi-Input, Multi-Output (MIMO) Systems.”

       47.     American Patents is the owner of the ‘458 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘458 Patent against infringers, and to collect damages for all relevant times.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 51 of 122 PageID #: 51




       48.     Epson made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Epson EpiqVision

Mini EF12 Smart Streaming Laser Projector, Epson PowerLite 1288 Full HD 1080p Meeting

Room Projector with Built-in Wireless and Miracast, and Epson Moverio BT-40S Smart Glasses

with Intelligent Touch Controller families of products that include 802.11n and above

capabilities (“accused products”):




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 52 of 122 PageID #: 52




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-350-Smart-

Glasses/p/V11H837020)




(Source : https://epson.com/For-Work/Projectors/Meeting-Room/PowerLite-1288-Full-HD-

1080p-Meeting-Room-Projector-with-Built-in-Wireless-and-Miracast/p/V11H978120)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 53 of 122 PageID #: 53




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-40S-Smart-

Glasses-with-Intelligent-Touch-Controller-/p/V11H969120)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 54 of 122 PageID #: 54




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 55 of 122 PageID #: 55




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 56 of 122 PageID #: 56




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 57 of 122 PageID #: 57




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)

       49.     By doing so, Epson has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘458 Patent. Epson’s infringement in this regard is ongoing.



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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 58 of 122 PageID #: 58




       50.     Epson has infringed the ‘458 Patent by making, having made, using, importing,

providing, supplying, distributing, selling or offering for sale products including an apparatus for

synchronizing a communication system. For example, the accused products can act and have

acted as a receiver in an apparatus for synchronizing a communication system. An 802.11 n/ac

compliant WiFi access point that is communicating with an accused product can be part of the

apparatus, acting as a transmitter. The accused products support IEEE 802.11 n/ac standards and

MIMO technology. The IEEE 802.11ac standard is backwards compatible with the 802.11n

standard. If a device such as an accused product complies with IEEE 802.11ac, it also complies

with IEEE 802.11n and all prior versions of the WiFi standards (802.11 a/b/g/n). According to

the 802.11a standard, the physical layer services include an OFDM system. According to the

IEEE 802.11n standard, all Protocol Data Unit (PPDU) frame formats have training fields and

signaling fields which would help in synchronizing the communication system.




       (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 59 of 122 PageID #: 59




     (Source: 802.11ac: A Survival Guide: Wi-Fi at Gigabit and Beyond, Gast, Matthew S.)




     (Source: https://standards.ieee.org/standard/802_11a-1999.html)




                                            59
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 60 of 122 PageID #: 60




      (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




      (Source: https://ieeexplore.ieee.org/document/7797535/)

      51.    The accused products include a number (Q) of Orthogonal Frequency Division

Multiplexing (OFDM) modulators, each OFDM modulator producing a frame having at least one

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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 61 of 122 PageID #: 61




inserted symbol, a plurality of data symbols, and cyclic prefixes. According to the IEEE 802.11n

standard, a transmitter block contains different functional blocks which include, but are not

limited to, constellation mappers, IDFT stage, and Guard interval insertion. Constellation

mappers map the bits and the constellation points for different modulation schemes like QPSK,

BPSK, 16-QAM, 64-QAM. After modulating the signal, it is converted into time domain and is

transmitted as frames of data. These transmitted frames include training field bits, signal bits,

cyclic prefixes and data bits. Alternatively, on request from an accused product, an 802.11 n/ac

compliant WiFi access point can act as a transmitter that includes a number (Q) of OFDM

modulators, each OFDM modulator producing a frame having at least one inserted symbol, a

plurality of data symbols, and cyclic prefixes.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)



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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 62 of 122 PageID #: 62




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            62
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 63 of 122 PageID #: 63




       52.     The accused products include Q transmitting antennas, each transmitting antenna

connected to a respective OFDM modulator, the transmitting antennas configured to transmit a

respective frame over a channel. The accused products support MIMO and comply with IEEE

802.11 a/b/g/n/ac standards. The transmitting antennas transmit multiple OFDM frames over a

channel. The transmitting antennas are connected to OFDM modulators to transmit the OFDM

frames over a channel. Alternatively, on request from an accused product, a WiFi access point

acts as a device that includes Q transmitting antennas, each transmitting antenna connected to a

respective OFDM modulator, the transmitting antennas configured to transmit a respective frame

over a channel.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 64 of 122 PageID #: 64




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 65 of 122 PageID #: 65




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 66 of 122 PageID #: 66




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 67 of 122 PageID #: 67




(Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       53.    The accused products include a number (L) of receiving antennas for receiving

the transmitted frames. For example, the accused products support MIMO and comply with

802.11 a/b/g/n/ac WiFi standards. The receiving antennas receive the transmitted frames.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 68 of 122 PageID #: 68




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 69 of 122 PageID #: 69




(Source :

https://mediaserver.goepson.com/ImConvServlet/imconv/ea07add1b62aa56ea948796f4feb479a8

4d2c8bf/original?assetDescr=PowerLite-1288-Projector_Specification-Sheet-CPD-59278)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 70 of 122 PageID #: 70




(Source : https://epson.com/medias/Moverio-BT-40s-Product-Specification-Sheet-CPD-60657-

Final.pdf?context=bWFzdGVyfHJvb3R8NTE0Mjk5fGFwcGxpY2F0aW9uL3BkZnxoMzYvaD

Q0Lzk2MzIyNzcxMDI2MjIucGRmfDI3Y2ZhYmIxNWFlZGYxYTlmOTRmMmFjNWQ0NmR

mOGMzN2RkMGM4MTYyMGU1Mzc1MmU3OTFiM2U0N2MwNjc3NDc)

       54.     The accused products include L OFDM demodulators, each OFDM demodulator

corresponding to a respective receiving antenna, the L OFDM demodulators including a

synchronization circuit that processes the received frame in order to synchronize the received

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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 71 of 122 PageID #: 71




frame in both time domain and frequency domain. For example, there is a demodulator block for

performing demodulation on the received frames. Further, synchronizing the received frame in

time and frequency domains occurs. In an OFDM transmitter section, a modulated signal is

converted into time domain and is transmitted as multiple frames of data. The functional blocks

present at the receiver end processes the received data, converts the data into frequency domain,

and performs demodulation. Various signal bits present in the transmitted frames’ preamble

helps in demodulating the signal. A demodulator block is present at the receiver to perform

demodulation. Different fields of data like training bits, cyclic prefixes and other signal bits

present in the received frame helps in synchronizing the frame in both time and frequency

domain. There is a synchronization circuit which processes the received frame and synchronizes

them in both time and frequency domain.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 72 of 122 PageID #: 72




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




                                            72
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 73 of 122 PageID #: 73




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)

       55.     The accused products include wherein each of the L OFDM demodulators

comprises a pre-amplifier, a local oscillator, a mixer having a first input and a second input, the

first input connected to an output of the pre-amplifier, the second input connected to an output of

the local oscillator, an analog-to-digital converter (ADC) connected to an output of the mixer.

The demodulating section at the receiver end includes a pre-amplifier, a local oscillator, a mixer,

and an ADC. The received frames undergo filtering, amplification (pre-amplifier), down-

conversion and sampling (ADC). There are respective functional blocks for performing these

functions. After transmitting the data, the data is received by a receiving antenna for further

processing. To prevent the demodulator from demodulating the noise associated with the

received signal, an RF front end circuit is implemented to increase the SNR of the demodulated

signal. The RF front end circuit generally consists of amplifiers, local oscillator, filters and

mixers. The output from the mixer is generally fed to an analog-to-digital converter (ADC).

This RF front end circuit generally lies at the start of the demodulation process.



                                                 73
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 74 of 122 PageID #: 74




     (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




     (Source: VLSI for Wireless Communication)




     (Source: VLSI for Wireless Communication)




     (Source: VLSI for Wireless Communication)




                                            74
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 75 of 122 PageID #: 75




       (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

       Compression, Schenk, Tim)




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       56.    The accused products include the synchronization circuit having one input

connected to an output of the ADC. The PPDU frames that are transmitted are demodulated at

the receiver end. The demodulation process includes estimating time and frequency offsets and

synchronizing accordingly.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 76 of 122 PageID #: 76




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: https://www.eetimes.com/document.asp?doc_id=1276331)

       57.     The accused products include a cyclic-prefix remover connected to an output of

the synchronization circuit, a serial-to-parallel converter connected to an output of the cyclic

prefix remover, and a discrete Fournier transform (DFT) stage connected to an output of the

serial-to-parallel converter, an output of the DFT stage connected to another input to the

synchronization circuit. Cyclic prefixes are added in the preamble for each transmitted frame.

In a general OFDM system, a cyclic prefix remover circuit would be present at the receiver end.

The output from the cyclic prefix remover circuit would be fed to a serial-to-parallel converter




                                                 76
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 77 of 122 PageID #: 77




for performing a DFT operation on its output. The evidence also shows that the output of the

DFT stage is connected to the phase correction block that is part of the synchronization circuit.




       (Source: http://luci.subsignal.org/~jow/802.11n-2009.pdf)




       (Source: RF Imperfections in High-rate Wireless Systems: Impact and Digital

       Compression, Schenk, Tim)



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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 78 of 122 PageID #: 78




       (Source: Next Generation Wireless LANs: 802.11n and 802.11ac, Perahia, Eldad and

       Stacey, Robert)

       58.     Epson has had actual knowledge of the ‘458 Patent at least as of the date when it

was notified of the filing of this action. By the time of trial, Epson will have known and

intended (since receiving such notice) that its continued actions would infringe and actively

induce and contribute to the infringement of one or more claims of the ‘458 Patent.

       59.     Epson has also indirectly and willfully infringed, and continues to indirectly and

willfully infringe, the ‘458 Patent, as explained further below in the “Additional Allegations

Regarding Infringement” section.

       60.     American Patents has been damaged as a result of the infringing conduct by

Epson alleged above. Thus, Epson is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.



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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 79 of 122 PageID #: 79




       61.     American Patents has neither made nor sold unmarked articles that practice the

‘458 Patent, and is entitled to collect pre-filing damages for the full period allowed by law for

infringement of the ‘458 Patent.

                                           COUNT IV

                     INFRINGEMENT OF U.S. PATENT NO. 6,847,803

       62.     On January 25, 2005, United States Patent No. 6,847,803 (“the ‘803 Patent”) was

duly and legally issued by the United States Patent and Trademark Office for an invention

entitled “Method for Reducing Interference in a Receiver.”

       63.     American Patents is the owner of the ‘803 Patent, with all substantive rights in

and to that patent, including the sole and exclusive right to prosecute this action and enforce the

‘803 Patent against infringers, and to collect damages for all relevant times.

       64.     Epson made, had made, used, imported, provided, supplied, distributed, sold,

and/or offered for sale products and/or systems including, for example, its Epson EpiqVision

Mini EF12 Smart Streaming Laser Projector and Epson Moverio BT-350 Smart Glasses families

of products, that include 802.11ac beamforming capabilities (“accused products”):




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 80 of 122 PageID #: 80




(Source : https://epson.com/For-Work/Wearables/Smart-Glasses/Moverio-BT-350-Smart-

Glasses/p/V11H837020)




                                           80
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 81 of 122 PageID #: 81




(Source : https://www.zones.com/site/product/index.html?id=105247274)




                                            81
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 82 of 122 PageID #: 82




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




                                                82
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 83 of 122 PageID #: 83




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=84383)




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 84 of 122 PageID #: 84




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=60867)




                                                84
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 85 of 122 PageID #: 85




(Source : https://api.cert.wi-fi.org/api/certificate/download/public?variantId=60867)




(Source: https://www.networkworld.com/article/3445039/beamforming-explained-how-it-

makes-wireless-communication-faster.html)

       65.     By doing so, Epson has directly infringed (literally and/or under the doctrine of

equivalents) at least Claim 1 of the ‘803 Patent.




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Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 86 of 122 PageID #: 86




       66.     Epson has infringed the ‘803 Patent by using the accused products and thereby

practicing a method for reducing interference in a receiver for receiving information in receiving

time slots, in which receiver signals are received with at least a first antenna (ANT1) and a

second antenna (ANT2). For example, the accused products are and have been used by

Defendant to implement the IEEE 802.11-2016 Standard, whose requirements were in effect five

years before the Complaint. Devices that can communicate using 802.11 protocol are known as

Stations (STAs). Multiple Input Multiple Output (MIMO) and Beamforming techniques are and

have been used by a STA with multiple antennas for steering the signals to each STA

(“receiver”) for reception. In such MIMO transmissions, the space-time streams in the

transmitted signal would be intended for reception by each STA in its corresponding time slots.

These time slots at which the STA receives the space-time streams with actual data information

can be construed as receiving time slots. Since, there are multiple antennas, when they transmit

simultaneously, the signal appears as interference at each of the receive antennas. Further, a STA

will also be able to identify the space-time streams intended for other STAs that act as

interference. STA uses the channel state information that is obtained by estimating a channel to

reduce the interference caused by other space time streams. The beamforming calibration

procedures (“method for reducing interference”) involves channel estimation and matrix

calculations which help in reducing the interference in a receiver. Indeed, the IEEE 802.11-2016

Standard shows MIMO systems with two STAs (i.e., STA A and STA B) using multiple

antennas (“a first antenna (ANT1) and a second antenna (ANT2)”) for receiving transmitted

signals.




                                                86
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 87 of 122 PageID #: 87




     (Source : IEEE 802.11-2016 Standard, p. 2578)




     (Source : IEEE 802.11-2016 Standard, p. 2392)




     (Source : IEEE 802.11-2016 Standard, p. 2580)




     (Source : https://www.pcmag.com/encyclopedia/term/sta)




                                          87
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 88 of 122 PageID #: 88




       (Source : IEEE 802.11-2016 Standard, p. 2393)

       67.     The methods practiced by Epson’s use of the accused products include methods

where signals are received with said first antenna (ANT1) and second antenna (ANT2) at

moments of time other than in said receiving time slot, when no information is being received.

For example, the accused products are and have been used by Defendant to implement the IEEE

802.11-2016 Standard, whose requirements were in effect five years before the Complaint. A

STA in that Standard transmits data in PHY Protocol Data Units (PPDUs). PPDUs can be

transmitted in High Throughput (HT) mode and Very High Throughput (VHT) mode. A Null

Data Packet (NDP) can be transmitted in both HT and VHT Modes. Training Fields (TFs) inside

the NDP carry no data related information and can be used as sounding PPDUs in beamforming

calibration procedures. Sounding PPDUs would help in channel estimation at the STA. Certain

TFs include the interference information which is used as reference during calibration

procedures. The NDPs (“signals received”) in HT-PPDU and VHT PPDU format includes

several TFs which are and have been used as a reference for the receiver to perform

calibration/tuning. Thus, there is no actual data information that is received during the




                                                 88
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 89 of 122 PageID #: 89




beamforming calibration procedures (“at moments of time other than in said receiving time

slots”).




(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2347)




                                                89
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 90 of 122 PageID #: 90




(Source : IEEE 802.11-2016 Standard, p. 2514)




(Source : IEEE 802.11-2016 Standard, p. 2347)




(Source : IEEE 802.11-2016 Standard, p. 157)




(Source : IEEE 802.11-2016 Standard, p. 163)




                                                90
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 91 of 122 PageID #: 91




(Source : IEEE 802.11-2016 Standard, p. 2580)




(Source : IEEE 802.11-2016 Standard, p. 1485)

       68.     The methods practiced by Epson’s use of the accused products include methods in

which a reference signal representing interference in said other time slot is formed and used for

the tuning of the receiver in said receiving time slots. For example, the accused products are and

have been used by Defendant to implement the IEEE 802.11-2016 Standard, whose requirements

were in effect five years before the Complaint. In that Standard, beamforming techniques are

and have been used to improve the reception at a receiver STA. These techniques use the channel

state information and generate steering matrices for the transmission of data. There are two types

of beamforming methods described in the standard, Implicit feedback beamforming and Explicit

feedback beamforming. A steering matrix, Qk, is calculated in both beamforming methods.


                                                91
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 92 of 122 PageID #: 92




Explicit feedback beamforming enables a beamformee i.e., receiving STA to calculate

beamforming feedback matrix based on the received sounding packets/PPDUs. NDPs can be

used as sounding PPDUs and hence, no data/information is received during the beamforming

procedures. The Standard shows a scenario wherein STA A (transmit STA) transmits a sounding

packet (which can be NDP PPDU) that is used by STA B (receiving STA) to calculate a

beamforming feedback matrix Vk (“reference signal”). The feedback matrix is later sent to STA

A for determining a steering matrix which is used to tune and re-calibrate the receiver STA in

order to demodulate the transmitted signal. Implicit feedback beamforming enables STA to

estimate a MIMO channel and calculate channel matrices, based on a received sounding PPDU.

NDPs can be used as sounding PPDUs and hence, no data/information is received during the

beamforming procedures. The Standard shows a scenario wherein STA A and STA B (receiving

STA) follow beamforming calibration procedures using sounding PPDUs. STA A and STA B

will exchange sounding PPDUs (which can be NDP PPDUs), using which each of the STAs will

estimate respective channel matrices. Quantized estimates of the channel matrices (“reference

signal”) are sent from STA B to STA A. Later, STA A uses its local estimates and the received

quantized estimates from STA B to calculate set of correction matrices. These correction

matrices that are formed using the received quantized estimates, are applied at transmit side of a

STA to correct/tune the amplitude and phase differences in transmit and receive chains. All the

above discussed steps are performed as a part of beamforming calibration procedures using

sounding PPDUs. The Standard also shows equations for the received signal with beamforming.

The channel estimates and beamforming steering matrix are and have been used to tune and re-

calibrate the receiver in order to demodulate the transmitted signal.




                                                92
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 93 of 122 PageID #: 93




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)




                                                93
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 94 of 122 PageID #: 94




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 1477)



                                                94
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 95 of 122 PageID #: 95




(Source : IEEE 802.11-2016 Standard, p. 1477)




(Source : IEEE 802.11-2016 Standard, p. 2580)




                                                95
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 96 of 122 PageID #: 96




(Source : IEEE 802.11-2016 Standard, p. 2393)




(Source : IEEE 802.11-2016 Standard, p. 2395)




                                                96
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 97 of 122 PageID #: 97




(Source : IEEE 802.11-2016 Standard, p. 1475)




(Source : IEEE 802.11-2016 Standard, p. 2580)




                                                97
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 98 of 122 PageID #: 98




(Source : IEEE 802.11-2016 Standard, p. 2394)




(Source : IEEE 802.11-2016 Standard, p. 2401)




(Source : IEEE 802.11-2016 Standard, p. 2346)




                                                98
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 99 of 122 PageID #: 99




(Source : IEEE 802.11-2016 Standard, p. 2392-2393)




(Source : IEEE 802.11-2016 Standard, p. 2393)

       69.     American Patents only asserts method claims from the ‘803 Patent.

       70.     American Patents has been damaged as a result of the infringing conduct by

Epson alleged above. Thus, Epson is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                                99
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 100 of 122 PageID #: 100




             ADDITIONAL ALLEGATIONS REGARDING INFRINGEMENT

       71.    In addition to any specific products mentioned above, the accused products also

include at least the following products: Epson Artisan 1430 Inkjet Printer, Epson Artisan 700

All-in-One Printer, Epson Artisan 710 All-in-One Printer, Epson Artisan 725 All-in-One Printer,

Epson Artisan 725 All-in-One Printer - Arctic Edition, Epson Artisan 730 All-in-One Printer,

Epson Artisan 800 All-in-One Printer, Epson Artisan 810 All-in-One Printer, Epson Artisan 835

All-in-One Printer, Epson Artisan 837 All-in-One Printer, Epson BrightLink 1480Fi 1080p

3LCD Interactive Laser Display, Epson BrightLink 1485Fi 1080p 3LCD Interactive Laser

Display, Epson BrightLink 425Wi, Epson BrightLink 430i, Epson BrightLink 435Wi, Epson

BrightLink 436Wi Interactive WXGA 3LCD Projector, Epson BrightLink 475Wi Interactive

WXGA 3LCD Projector with Mount, Epson BrightLink 480i Interactive XGA 3LCD Projector

with Mount, Epson BrightLink 485Wi Interactive WXGA 3LCD Projector with Mount, Epson

BrightLink 536Wi, Epson BrightLink 575Wi Interactive WXGA 3LCD Projector, Epson

BrightLink 585Wi Interactive WXGA 3LCD Projector, Epson BrightLink 595Wi Interactive

WXGA 3LCD Projector, Epson BrightLink 685Wi WXGA 3LCD Ultra Short-throw Interactive

Display, Epson BrightLink 695Wi WXGA 3LCD Ultra Short-throw Interactive Display, Epson

BrightLink 696Ui Full HD 3LCD Ultra Short-throw Interactive Display, Epson BrightLink

697Ui, Epson BrightLink 710Ui, Epson BrightLink 725Wi WXGA 3LCD Interactive Laser

Display, Epson BrightLink 735Fi 1080p 3LCD Interactive Laser Display, Epson BrightLink Pro

1410Wi Meeting Room Productivity Tool with Wall Mount, Epson BrightLink Pro 1420Wi

Collaborative Whiteboarding Solution, Epson BrightLink Pro 1430Wi Collaborative

Whiteboarding Solution with Touch, Epson BrightLink Pro 1450Ui Full HD Interactive Display,

Epson BrightLink Pro 1460Ui Full HD Interactive Display, Epson BrightLink Pro 1470Ui



                                              100
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 101 of 122 PageID #: 101




WUXGA 3LCD Interactive Laser Display, Epson DNUB-E1, Epson DS-575W II Wireless Color

Duplex Document Scanner, Epson DS-575W Wireless Color Document Scanner, Epson DS-

80W Wireless Portable Document Scanner, Epson EcoTank ET-15000 All-in-One Cartridge-

Free Supertank Printer, Epson EcoTank ET-2720 All-in-One Supertank Printer - Black, Epson

EcoTank ET-2720 All-in-One Supertank Printer - White, Epson EcoTank ET-2760 All-in-One

Cartridge-Free Supertank Printer, Epson EcoTank ET-3710 All-in-One Cartridge-Free Supertank

Printer, Epson EcoTank ET-3760 All-in-One Cartridge-Free Supertank Printer, Epson EcoTank

ET-4700 All-in-One Supertank Printer, Epson EcoTank ET-4760 All-in-One Cartridge-Free

Supertank Printer - Black, Epson EcoTank ET-4760 All-in-One Cartridge-Free Supertank Printer

- White, Epson EcoTank ET-M1170 Wireless Monochrome Supertank Printer, Epson EcoTank

ET-M2170 Wireless Monochrome All-in-One Supertank Printer, Epson EcoTank ET-M3170

Wireless Monochrome All-in-One Supertank Printer, Epson EcoTank Photo ET-8500 Wireless

Color All-in-One Supertank Printer, Epson EcoTank Photo ET-8550 All-in-One Wide-format

Supertank Printer, Epson EcoTank Pro ET-16600 Wide-format All-in-One Supertank Printer,

Epson EcoTank Pro ET-16650 Wide-format All-in-One Supertank Printer, Epson EcoTank Pro

ET-5150 Wireless All-in-One Supertank Printer, Epson EcoTank Pro ET-5170 Wireless All-in-

One Supertank Printer, Epson EcoTank Pro ET-5800 All-in-One Cartridge-Free Supertank

Printer, Epson EcoTank Pro ET-5850 All-in-One Cartridge-Free Supertank Printer, Epson

EcoTank Pro ET-5880 All-in-One Cartridge-Free Supertank Printer with PCL Support, Epson

EF-100 Mini-Laser Streaming Projector with Android TV - Black, Epson EF-100 Mini-Laser

Streaming Projector with Android TV - White, Epson EpiqVision Mini EF12 Smart Streaming

Laser Projector, Epson EpiqVision Ultra LS500 Ultra Short Throw Laser Projector (Black),

Epson EpiqVision Ultra LS500 Ultra Short Throw Laser Projector (White), Epson ET-2750U for



                                             101
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 102 of 122 PageID #: 102




ReadyPrint, Epson ET-3750U for ReadyPrint, Epson ET-5850U for ReadyPrint, Epson EX3220

SVGA 3LCD Projector, Epson EX3240 SVGA 3LCD Projector, Epson EX3260 SVGA 3LCD

Projector, Epson EX5230 Pro XGA 3LCD Projector, Epson EX5240 XGA 3LCD Projector,

Epson EX5250 Pro Wireless XGA 3LCD Projector, Epson EX5260 Wireless XGA 3LCD

Projector, Epson EX5280 3LCD XGA Projector, Epson EX6220 WXGA 3LCD Projector, Epson

EX7220 Wireless WXGA 3LCD Projector, Epson EX7230 Pro HD WXGA 3LCD Projector,

Epson EX7235 Pro Wireless HD WXGA 3LCD Projector, Epson EX7240 Pro Wireless WXGA

3LCD Projector, Epson EX9200 Pro Wireless WUXGA 3LCD Projector, Epson Expression ET-

2500 EcoTank All-in-One Printer, Epson Expression ET-2550 EcoTank All-in-One Printer,

Epson Expression ET-2600 EcoTank All-in-One Printer, Epson Expression ET-2650 EcoTank

All-in-One Printer, Epson Expression ET-2700 EcoTank All-in-One Supertank Printer, Epson

Expression ET-2750 EcoTank All-in-One Supertank Printer, Epson Expression ET-3600

EcoTank All-in-One Supertank Printer, Epson Expression ET-3700 EcoTank All-in-One

Supertank Printer, Epson Expression Home XP-200 Small-in-One All-in-One Printer, Epson

Expression Home XP-300 Small-in-One All-in-One Printer, Epson Expression Home XP-310

Small-in-One All-in-One Printer, Epson Expression Home XP-320 Small-in-One All-in-One

Printer, Epson Expression Home XP-330 Small-in-One All-in-One Printer, Epson Expression

Home XP-340 Small-in-One All-in-One Printer, Epson Expression Home XP-400 Small-in-One

All-in-One Printer, Epson Expression Home XP-410 Small-in-One All-in-One Printer, Epson

Expression Home XP-4100 Small-in-One Printer, Epson Expression Home XP-4105 Small-in-

One Printer, Epson Expression Home XP-420 Small-in-One All-in-One Printer, Epson

Expression Home XP-424 Small-in-One All-in-One Printer, Epson Expression Home XP-430

Small-in-One Printer, Epson Expression Home XP-434 Small-in-One All-in-One Printer, Epson



                                           102
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 103 of 122 PageID #: 103




Expression Home XP-440 Small-in-One Printer, Epson Expression Home XP-446 Small-in-One

Printer, Epson Expression Home XP-5100 Small-in-One Printer, Epson Expression Photo HD

XP-15000 Wide-format Printer, Epson Expression Photo XP-850 Small-in-One All-in-One

Printer, Epson Expression Photo XP-8500 Small-in-One All-in-One Printer, Epson Expression

Photo XP-860 Small-in-One All-in-One Printer, Epson Expression Photo XP-8600 Small-in-One

Printer, Epson Expression Photo XP-950 Small-in-One All-in-One Printer, Epson Expression

Photo XP-960 Small-in-One All-in-One Printer, Epson Expression Photo XP-970 Small-in-One

Printer, Epson Expression Premium ET-7700 EcoTank All-in-One Supertank Printer, Epson

Expression Premium ET-7750 EcoTank Wide-format All-in-One Supertank Printer, Epson

Expression Premium XP-520 Small-in-One All-in-One Printer, Epson Expression Premium XP-

530 Small-in-One All-in-One Printer, Epson Expression Premium XP-600 Small-in-One Printer,

Epson Expression Premium XP-6000 Small-in-One Printer, Epson Expression Premium XP-610

Small-in-One All-in-One Printer, Epson Expression Premium XP-6100 Small-in-One Printer,

Epson Expression Premium XP-620 Small-in-One All-in-One Printer, Epson Expression

Premium XP-630 Small-in-One All-in-One Printer, Epson Expression Premium XP-640 Small-

in-One All-in-One Printer, Epson Expression Premium XP-7100 Small-in-One Printer, Epson

Expression Premium XP-800 Small-in-One Printer, Epson Expression Premium XP-810 Small-

in-One All-in-One Printer, Epson Expression Premium XP-820 Small-in-One All-in-One Printer,

Epson Expression Premium XP-830 Small-in-One All-in-One Printer, Epson FastFoto FF-680W

Wireless High-speed Photo Scanning System, Epson Home Cinema 1080 3LCD 1080p

Projector, Epson Home Cinema 1450 1080p 3LCD Projector, Epson Home Cinema 3000 2D/3D

Full HD 1080p 3LCD Projector, Epson Home Cinema 3100 Full HD 1080p 3LCD Projector,

Epson Home Cinema 3200 4K PRO-UHD 3-Chip Projector with HDR, Epson Home Cinema



                                            103
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 104 of 122 PageID #: 104




3500 2D/3D Full HD 1080p 3LCD Projector, Epson Home Cinema 3600e Wireless 2D/3D Full

HD 1080p 3LCD Projector, Epson Home Cinema 3700 Full HD 1080p 3LCD Projector, Epson

Home Cinema 3800 4K PRO-UHD 3-Chip Projector with HDR, Epson Home Cinema 3900 Full

HD 1080p 3LCD Projector, Epson Home Cinema 4000 3LCD Projector with 4K Enhancement

and HDR, Epson Home Cinema 4010 4K PRO-UHD Projector with Advanced 3-Chip Design

and HDR, Epson Home Cinema 5040UB 3LCD Projector with 4K Enhancement and HDR,

Epson Home Cinema 5040UBe WirelessHD 3LCD Projector with 4Ke and HDR, Epson Home

Cinema 5050UB 4K PRO-UHD Projector with Advanced 3-Chip Design and HDR10, Epson

Home Cinema 5050UBe Wireless 4K PRO-UHD Projector with Advanced 3-Chip Design and

HDR10, Epson Home Cinema 660 3LCD Projector, Epson Home Cinema 760 3LCD Projector,

Epson Home Cinema 880 3LCD 1080p Projector, Epson Home Cinema LS100 Full HD 3LCD

Ultra Short-throw Laser Projector, Epson Intelligent Controller BO-IC400, Epson LightScene

EV-100 Accent Lighting 3LCD Laser Projector, Epson LightScene EV-105 Accent Lighting

3LCD Laser Projector, Epson LightScene EV-110 Accent Lighting 3LCD Laser Projector,

Epson LightScene EV-115 Accent Lighting 3LCD Laser Projector, Epson LW-PX800 Printer,

Epson LW-Z5000PX Printer, Epson LW-Z5000PX With Rewinder, Epson LW-Z5010PX

Printer, Epson LW-Z5010PX Printer Kit, Epson LW-Z5010PX Pro Plus Kit, Epson LW-

Z5010PX With Rewinder, Epson Mobilink P20 2" Mobile Receipt Printer, Epson Mobilink

P60II 2" Mobile Receipt or Label Printer, Epson Mobilink P80 3" Mobile Receipt Printer, Epson

Mobilink P80 Plus 3" Wireless Receipt Printer with Auto Cutter, Epson Moverio BT-200 Smart

Glasses (Developer Version Only), Epson Moverio BT-300 (FPV-Drone Edition), Epson

Moverio BT-300 Smart Glasses (AR/Developer Edition), Epson Moverio BT-350 Smart Glasses,

Epson Moverio BT-350 Smart Glasses ANSI Z87.1 Edition, Epson Moverio BT-40S Smart



                                             104
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 105 of 122 PageID #: 105




Glasses with Intelligent Touch Controller, Epson Moverio Pro BT-2200 Smart Headset, Epson

OmniLink® TM-m50 POS Thermal Receipt Printer, Epson OmniLink TM-H6000IV-DT

Intelligent Printer, Epson OmniLink TM-H6000V Multifunction POS Printer, Epson OmniLink

TM-m30II-h POS Receipt Printer, Epson OmniLink TM-m30II-NT POS Receipt Printer, Epson

OmniLink TM-m30II-SL POS Thermal Receipt Printer with Built-in Tablet Mount, Epson

OmniLink TM-T20II-i Intelligent Printer with COM, Epson OmniLink TM-T70II-DT Intelligent

Printer, Epson OmniLink TM-T88V-DT Intelligent Printer, Epson OmniLink TM-T88VI Single-

station Thermal Receipt Printer, Epson OmniLink TM-T88VI-i Intelligent Thermal Receipt

Printer, Epson OT-WL06 (M359A), Epson PictureMate PM-400 Personal Photo Lab, Epson

PowerLite 107 XGA 3LCD Projector, Epson PowerLite 108 XGA 3LCD Projector, Epson

PowerLite 109W WXGA 3LCD Projector, Epson PowerLite 118 3LCD XGA Classroom

Projector with Dual HDMI, Epson PowerLite 119W 3LCD WXGA Classroom Projector with

Dual HDMI, Epson PowerLite 1222 Wireless XGA 3LCD Projector, Epson PowerLite 1224

Wireless XGA 3LCD Projector, Epson PowerLite 1262W Wireless WXGA 3LCD Projector,

Epson PowerLite 1263W Wireless HD WXGA 3LCD Projector, Epson PowerLite 1264 Wireless

HD WXGA 3LCD Projector, Epson PowerLite 1266 Wireless WXGA 3LCD Projector, Epson

PowerLite 1284 Wireless WUXGA 3LCD Projector, Epson PowerLite 1286 Wireless WUXGA

3LCD Projector, Epson PowerLite 1288 Full HD 1080p Meeting Room Projector with Built-in

Wireless and Miracast, Epson PowerLite 1751 XGA 3LCD Projector, Epson PowerLite 1760W

Multimedia Projector, Epson PowerLite 1761W WXGA 3LCD Projector, Epson PowerLite

1770W, Epson PowerLite 1771W WXGA 3LCD Projector, Epson PowerLite 1775W

Multimedia Projector, Epson PowerLite 1776W WXGA 3LCD Projector, Epson PowerLite

1780W Wireless WXGA 3LCD Projector, Epson PowerLite 1781W Wireless WXGA 3LCD



                                            105
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 106 of 122 PageID #: 106




Projector, Epson PowerLite 1785W Wireless WXGA 3LCD Projector, Epson PowerLite 1795F

Wireless Full HD 1080p 3LCD Projector, Epson PowerLite 1835 XGA 3LCD Projector, Epson

PowerLite 1945W WXGA 3LCD Projector, Epson PowerLite 1955 XGA 3LCD Projector,

Epson PowerLite 1965 XGA 3LCD Projector, Epson PowerLite 1985WU WUXGA Wireless

3LCD Projector, Epson PowerLite 2040 XGA 3LCD Projector, Epson PowerLite 2042 XGA

3LCD Projector, Epson PowerLite 2065 Wireless XGA 3LCD Projector, Epson PowerLite

2140W WXGA 3LCD Projector, Epson PowerLite 2142W WXGA 3LCD Projector, Epson

PowerLite 2155W Wireless WXGA 3LCD Projector, Epson PowerLite 2165W Wireless WXGA

3LCD Projector, Epson PowerLite 2247U Wireless Full HD WUXGA 3LCD Projector, Epson

PowerLite 2250U Full HD WUXGA 3LCD Projector, Epson PowerLite 2255U Wireless Full

HD WUXGA 3LCD Projector, Epson PowerLite 2265U Wireless Full HD WUXGA 3LCD

Projector, Epson PowerLite 420 XGA 3LCD Projector, Epson PowerLite 425W WXGA 3LCD

Projector, Epson PowerLite 430 XGA 3LCD Projector, Epson PowerLite 435W WXGA 3LCD

Projector, Epson PowerLite 4650 XGA 3LCD Projector, Epson PowerLite 470 XGA 3LCD

Projector, Epson PowerLite 4750W WXGA 3LCD Projector, Epson PowerLite 475W WXGA

3LCD Projector, Epson PowerLite 4770W WXGA 3LCD Projector, Epson PowerLite 480 XGA

3LCD Projector, Epson PowerLite 4855WU WUXGA 3LCD Projector, Epson PowerLite 485W

WXGA 3LCD Projector, Epson PowerLite 520 XGA 3LCD Projector, Epson PowerLite 525W

WXGA 3LCD Projector, Epson PowerLite 530 XGA 3LCD Projector, Epson PowerLite 530

XGA 3LCD Projector for SMART, Epson PowerLite 535W WXGA 3LCD Projector, Epson

PowerLite 5510 XGA 3LCD Projector, Epson PowerLite 5520W WXGA 3LCD Projector,

Epson PowerLite 5530U WUXGA 3LCD Projector, Epson PowerLite 5535U WUXGA 3LCD

Projector, Epson PowerLite 570 XGA 3LCD Projector, Epson PowerLite 575W WXGA 3LCD



                                         106
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 107 of 122 PageID #: 107




Projector, Epson PowerLite 580 XGA 3LCD Projector, Epson PowerLite 580 XGA 3LCD

Projector for SMART, Epson PowerLite 585W WXGA 3LCD Projector, Epson PowerLite

585W WXGA 3LCD Projector for SMART, Epson PowerLite 675W WXGA 3LCD Presentation

Display, Epson PowerLite 680 XGA 3LCD Presentation Display, Epson PowerLite 680 XGA

3LCD Presentation Display for SMART Board Interactive Whiteboards, Epson PowerLite 685W

WXGA 3LCD Presentation Display, Epson PowerLite 685W WXGA 3LCD Ultra Short-Throw

Presentation Display, Epson PowerLite 700U WUXGA 3LCD Ultra-short Throw Laser Display,

Epson PowerLite 720 XGA 3LCD Ultra Short-throw Laser Display, Epson PowerLite 725W

WXGA 3LCD Ultra Short-throw Laser Display, Epson PowerLite 750F Full HD 1080p Ultra

Short-throw Laser Projector with Built-in Wireless, Epson PowerLite 755F Full HD 1080p Ultra

Short-throw Laser Projector with Built-in Wireless, Epson PowerLite 800F Full HD 1080p Ultra

Short-throw Laser Projector for Classrooms, Epson PowerLite 805F Full HD 1080p Ultra Short-

throw Laser Projector for Digital Signage, Epson PowerLite 905 XGA 3LCD Projector, Epson

PowerLite 915W WXGA 3LCD Projector, Epson PowerLite 935W WXGA 3LCD Projector,

Epson PowerLite 95 XGA 3LCD Projector, Epson PowerLite 955W WXGA 3LCD Projector,

Epson PowerLite 955WH WXGA 3LCD Projector, Epson PowerLite 965 XGA 3LCD Projector,

Epson PowerLite 965H XGA 3LCD Projector, Epson PowerLite 96W WXGA 3LCD Projector,

Epson PowerLite 970 XGA 3LCD Projector, Epson PowerLite 975W WXGA 3LCD Projector,

Epson PowerLite 97H XGA 3LCD Projector, Epson PowerLite 98 XGA 3LCD Projector, Epson

PowerLite 980W WXGA 3LCD Projector, Epson PowerLite 982W 3LCD WXGA Classroom

Projector with Dual HDMI, Epson PowerLite 98H XGA 3LCD Projector, Epson PowerLite

990U WUXGA 3LCD Projector, Epson PowerLite 992F Full HD 1080p Classroom Projector

with Built-in Wireless, Epson PowerLite 99W WXGA 3LCD Projector, Epson PowerLite 99WH



                                            107
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 108 of 122 PageID #: 108




WXGA 3LCD Projector, Epson PowerLite D6150 XGA 3LCD Projector, Epson PowerLite

D6155W WXGA 3LCD Projector, Epson PowerLite D6250 XGA 3LCD Projector, Epson

PowerLite Home Cinema 1040 1080p 3LCD Projector, Epson PowerLite Home Cinema 2000

2D/3D 1080p 3LCD Projector, Epson PowerLite Home Cinema 2030 2D/3D 1080p 3LCD

Projector, Epson PowerLite Home Cinema 2045 Wireless 3D 1080p 3LCD Projector, Epson

PowerLite Home Cinema 600 3LCD Projector, Epson PowerLite Home Cinema 640 3LCD

Projector, Epson PowerLite Home Cinema 725HD 720p 3LCD Projector, Epson PowerLite

Home Cinema 730HD 720p 3LCD Projector, Epson PowerLite Home Cinema 740HD 720p

3LCD Projector, Epson PowerLite L200SW Wireless WXGA 3LCD Short-throw Laser Display,

Epson PowerLite L200SX Wireless XGA 3LCD Short-throw Laser Display, Epson PowerLite

L200W 3LCD WXGA Long-Throw Laser Projector with Built-in Wireless, Epson PowerLite

L200X 3LCD XGA Long-Throw Laser Projector with Built-in Wireless, Epson PowerLite

L250F 1080p 3LCD Standard-Throw Laser Projector with Built-in Wireless, Epson PowerLite

L255F 1080p 3LCD Standard-Throw Laser Projector with Built-in Wireless, Epson PowerLite

L400U WUXGA 3LCD Laser Projector, Epson PowerLite L500W WXGA 3LCD Laser

Projector, Epson PowerLite L510U WUXGA 3LCD Laser Projector, Epson PowerLite L610

XGA 3LCD Laser Projector, Epson PowerLite L610U Wireless WUXGA 3LCD Laser

Projector, Epson PowerLite L610W WXGA 3LCD Laser Projector, Epson PowerLite L615U

Wireless WUXGA 3LCD Laser Projector, Epson PowerLite Pro G6050W WXGA 3LCD

Projector with Standard Lens, Epson PowerLite Pro G6070W WXGA 3LCD Projector with

Standard Lens, Epson PowerLite Pro G6150 XGA 3LCD Projector with Standard Lens, Epson

PowerLite Pro G6170 XGA 3LCD Projector with Standard Lens, Epson PowerLite Pro G6270W

WXGA 3LCD Projector with Standard Lens, Epson PowerLite Pro G6450WU WUXGA 3LCD



                                           108
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 109 of 122 PageID #: 109




Projector with Standard Lens, Epson PowerLite Pro G6470WU WUXGA 3LCD Projector with

Standard Lens, Epson PowerLite Pro G6550WU WUXGA 3LCD Projector with Standard Lens,

Epson PowerLite Pro G6570WU WUXGA 3LCD Projector with Standard Lens, Epson

PowerLite Pro G6750WU WUXGA 3LCD Projector with Standard Lens, Epson PowerLite Pro

G6770WU WUXGA 3LCD Projector with Standard Lens, Epson PowerLite Pro G6800 XGA

3LCD Projector with Standard Lens, Epson PowerLite Pro G6870 XGA 3LCD Projector with

Standard Lens, Epson PowerLite Pro G6900WU WUXGA 3LCD Projector with Standard Lens,

Epson PowerLite Pro G6970WU WUXGA 3LCD Projector with Standard Lens, Epson

PowerLite Pro Z10000UNL WUXGA 3LCD Projector without Lens, Epson PowerLite Pro

Z10005UNL WUXGA 3LCD Projector without Lens, Epson PowerLite Pro Z11000WNL

WXGA 3LCD Projector without Lens, Epson PowerLite Pro Z11005NL XGA 3LCD Projector

without Lens, Epson PowerLite Pro Z8150NL XGA 3LCD Projector, Epson PowerLite Pro

Z8250NL XGA 3LCD Projector, Epson PowerLite Pro Z8255NL XGA 3LCD Projector, Epson

PowerLite Pro Z8350WNL WXGA 3LCD Projector without Lens, Epson PowerLite Pro

Z8450WUNL WUXGA 3LCD Projector, Epson PowerLite Pro Z8455WUNL WUXGA 3LCD

Projector, Epson PowerLite Pro Z9750UNL WUXGA 3LCD Projector without Lens, Epson

PowerLite Pro Z9800WNL WXGA 3LCD Projector without Lens, Epson PowerLite Pro

Z9870NL XGA 3LCD Projector without Lens, Epson PowerLite Pro Z9870UNL WUXGA

3LCD Projector without Lens, Epson PowerLite Pro Z9900WNL WXGA 3LCD Projector

without Lens, Epson PowerLite S17 SVGA 3LCD Projector, Epson PowerLite S27 SVGA

3LCD Projector, Epson PowerLite S39 SVGA 3LCD Projector, Epson PowerLite U50 WUXGA

3LCD Wireless Projector, Epson PowerLite W17 WXGA 3LCD Projector, Epson PowerLite

W29 WXGA 3LCD Projector, Epson PowerLite W39 WXGA 3LCD Projector, Epson



                                          109
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 110 of 122 PageID #: 110




PowerLite W49 3LCD WXGA Classroom Projector with HDMI, Epson PowerLite X17 XGA

3LCD Projector, Epson PowerLite X27 XGA 3LCD Projector, Epson PowerLite X39 XGA

3LCD Projector, Epson PowerLite X49 3LCD XGA Classroom Projector, Epson Pro Cinema

4040 3LCD Projector with 4K Enhancement and HDR, Epson Pro Cinema 4050 4K PRO-UHD

Projector with Advanced 3-Chip Design and HDR, Epson Pro Cinema 6040UB 3LCD Projector

with 4K Enhancement, HDR and ISF, Epson Pro Cinema 6050UB 4K PRO-UHD Projector with

Advanced 3-Chip Design and HDR10, Epson Pro EX10000 3LCD Full HD 1080p Wireless

Laser Projector with Miracast, Epson Pro EX7260 Wireless WXGA 3LCD Projector, Epson Pro

EX7280 3LCD WXGA Projector, Epson Pro EX9210 Wireless 1080p+ WUXGA 3LCD

Projector, Epson Pro EX9220 Wireless 1080p+ WUXGA 3LCD Projector, Epson Pro EX9240

3LCD Full HD 1080p Wireless Projector with Miracast, Epson Pro G7000W WXGA 3LCD

Projector with Standard Lens, Epson Pro G7100 XGA 3LCD Projector with Standard Lens,

Epson Pro G7200W WXGA 3LCD Projector with Standard Lens, Epson Pro G7400U WUXGA

3LCD Projector w/ 4K Enhancement & Standard Lens, Epson Pro G7500U WUXGA 3LCD

Projector w/ 4K Enhancement & Standard Lens, Epson Pro G7805 XGA 3LCD Projector with

Standard Lens, Epson Pro G7905U WUXGA 3LCD Projector w/ 4K Enhancement & Standard

Lens, Epson Pro L1060U WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro

L1060UNL WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro L1060W WXGA

3LCD Laser Projector, Epson Pro L1060WNL WXGA 3LCD Laser Projector, Epson Pro

L1070U WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro L1070UNL

WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro L1070W WXGA 3LCD

Laser Projector, Epson Pro L1070WNL WXGA 3LCD Laser Projector, Epson Pro L1075U

WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro L1075UNL WUXGA 3LCD



                                           110
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 111 of 122 PageID #: 111




Laser Projector with 4K Enhancement, Epson Pro L1100U Laser WUXGA 3LCD Projector w/

4K Enhancement & Standard Lens, Epson Pro L1200U Laser WUXGA 3LCD Projector w/ 4K

Enhancement & Standard Lens, Epson Pro L1300U Laser WUXGA 3LCD Projector w/ 4K

Enhancement & Standard Lens, Epson Pro L1405U Laser WUXGA 3LCD Projector w/ 4K

Enhancement & Standard Lens, Epson Pro L1490U WUXGA 3LCD Laser Projector with 4K

Enhancement and Lens, Epson Pro L1490UNL WUXGA 3LCD Laser Projector with 4K

Enhancement, Epson Pro L1495U WUXGA 3LCD Laser Projector with 4K Enhancement and

Lens, Epson Pro L1495UNL WUXGA 3LCD Laser Projector with 4K Enhancement, Epson Pro

L1500U Laser WUXGA 3LCD Projector with 4K Enhancement & Standard Lens, Epson Pro

L1500UH WUXGA 3LCD Laser Projector with 4K Enhancement With Lens, Epson Pro

L1500UHNL WUXGA 3LCD Laser Projector with 4K Enhancement Without Lens, Epson Pro

L1505U Laser WUXGA 3LCD Projector with 4K Enhancement & Standard Lens, Epson Pro

L1505UH WUXGA 3LCD Laser Projector with 4K Enhancement With Lens, Epson Pro

L1505UHNL WUXGA 3LCD Laser Projector with 4K Enhancement Without Lens, Epson Pro

L1715SNL SXGA+ 3LCD Laser Projector Without Lens, Epson Pro L1750UNL WUXGA

3LCD Laser Projector with 4K Enhancement Without Lens, Epson Pro L1755UNL WUXGA

3LCD Laser Projector with 4K Enhancement Without Lens, Epson Pro L25000U Laser

WUXGA 3LCD Projector w/ 4K Enhancement, Epson Pro L30000UNL Laser WUXGA 3LCD

Projector with 4K Enhancement, Epson Pro L30002UNL Laser WUXGA 3LCD Projector with

4K Enhancement, Epson RapidReceipt™ RR-600W Wireless Duplex Touchscreen Desktop

Receipt & Color Document Scanner, Epson RapidReceipt™ RR-70W Wireless Mobile Receipt

and Color Document Scanner, Epson Streaming Media Player STI6110-D101 , Epson Stylus

NX230 Small-in-One All-in-One Printer, Epson Stylus NX330 Small-in-One All-in-One Printer,



                                           111
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 112 of 122 PageID #: 112




Epson Stylus NX420 All-in-One Printer, Epson Stylus NX430 Small-in-One All-in-One Printer,

Epson Stylus NX510 All-in-One Printer, Epson Stylus NX515 All-in-One Printer, Epson Stylus

NX530 All-in-One Printer, Epson Stylus NX625 All-in-One Printer, Epson Stylus Photo R2000

Inkjet Printer, Epson Stylus Photo R3000 Inkjet Printer, Epson SureColor F170 Dye-Sublimation

Printer, Epson SureColor F570 Dye-Sublimation Printer, Epson SureColor P400 Wide Format

Inkjet Printer, Epson SureColor P600 Wide Format Inkjet Printer, Epson SureColor P700 13-

Inch Photo Printer, Epson SureColor P800 Designer Edition Printer, Epson SureColor P800

Printer, Epson SureColor P800 Screen Print Edition Printer, Epson SureColor P900 17-Inch

Photo Printer, Epson SureColor T2170 24-Inch Wireless Printer, Epson SureColor T3170

Wireless Printer, Epson SureColor T3170M 24" Wireless Printer with Integrated Scanner, Epson

SureColor T3170x 24" Desktop Printer, Epson SureColor T3470 Printer, Epson SureColor

T3475 Printer, Epson SureColor T5170 Wireless Printer, Epson SureColor T5170M 36"

Wireless Printer with Integrated Scanner, Epson SureColor T5470 Printer, Epson SureColor

T5470M 36" Printer and Scanner, Epson SureColor T5475 Printer, Epson TM-L90 Label Printer

with Peeler, Epson TM-L90 Plus Label and Barcode Printer, Epson TM-L90 Plus Label Printer

with Peeler, Epson TM-m10 Compact POS 2" Receipt Printer, Epson TM-m30 POS 3" Receipt

Printer, Epson TM-m30II POS Receipt Printer, Epson TM-T20II POS Receipt Printer, Epson

TM-T20III Thermal Receipt Printer, Epson TM-T70II POS Receipt Printer, Epson TM-T88V

POS Receipt Printer, Epson TM-T88V-I Printer, Epson TM-U220 Receipt/Kitchen Printer,

Epson VS230 SVGA 3LCD Projector, Epson VS240 SVGA 3LCD Projector, Epson VS250

SVGA 3LCD Projector, Epson VS260 3LCD XGA Projector, Epson VS330 XGA 3LCD

Projector, Epson VS335W WXGA 3LCD Projector, Epson VS340 XGA 3LCD Projector, Epson

VS345 WXGA 3LCD Projector, Epson VS350 XGA 3LCD Projector, Epson VS355 WXGA



                                             112
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 113 of 122 PageID #: 113




3LCD Projector, Epson Wireless LAN Unit WN8111BEP, Epson WorkForce 323 All-in-One

Printer, Epson WorkForce 325 All-in-One Printer, Epson WorkForce 40 Inkjet Printer, Epson

WorkForce 435 All-in-One Printer, Epson WorkForce 520 All-in-One Printer, Epson WorkForce

545 All-in-One Printer, Epson WorkForce 60 Inkjet Printer, Epson WorkForce 600 All-in-One

Printer, Epson WorkForce 610 All-in-One Printer, Epson WorkForce 615 All-in-One Printer,

Epson WorkForce 630 All-in-One Printer, Epson WorkForce 633 All-in-One Printer, Epson

WorkForce 635 All-in-One Printer, Epson WorkForce 645 All-in-One Printer, Epson WorkForce

840 All-in-One Printer, Epson WorkForce 845 All-in-One Printer, Epson WorkForce DS-40

Color Portable Scanner, Epson WorkForce DS-560 Wireless Color Document Scanner, Epson

WorkForce EC-C110 Wireless Mobile Color Printer, Epson WorkForce EC-C7000 Color

Multifunction Printer Up to 13 x 19 Inches, Epson WorkForce Enterprise WF-C17590 Color

Multifunction Network Printer, Epson WorkForce Enterprise WF-C20590 A3 Color

Multifunction Network Printer, Epson WorkForce Enterprise WF-C20600 Color Multifunction

Printer, Epson WorkForce Enterprise WF-C20750 Color Multifunction Printer, Epson

WorkForce Enterprise WF-C21000 Color Multifunction Printer, Epson WorkForce Enterprise

WF-M20590 Monochrome Multifunction Network Printer, Epson WorkForce Enterprise WF-

M20590F Monochrome Multifunction Printer, Epson WorkForce Enterprise WF-M21000

Monochrome Multifunction Printer, Epson WorkForce ES-300W Wireless Portable Duplex

Document Scanner with ADF, Epson WorkForce ES-300WR Wireless Document Scanner ―

Accounting Edition, Epson WorkForce ES-500W II Wireless Duplex Desktop Document

Scanner, Epson WorkForce ES-500W Wireless Duplex Document Scanner, Epson WorkForce

ES-500WR Wireless Document Scanner ― Accounting Edition, Epson WorkForce ES-580W

Wireless Duplex Touchscreen Desktop Document Scanner, Epson WorkForce ES-60W Wireless



                                            113
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 114 of 122 PageID #: 114




Portable Document Scanner, Epson WorkForce ES-65WR Wireless Portable Document Scanner

― Accounting Edition, Epson WorkForce ET-16500 EcoTank Wide-format All-in-One

Supertank Printer, Epson WorkForce ET-3750 EcoTank All-in-One Supertank Printer, Epson

WorkForce ET-4500 EcoTank All-in-One Printer, Epson WorkForce ET-4550 EcoTank All-in-

One Printer, Epson WorkForce ET-4750 EcoTank All-in-One Supertank Printer, Epson

WorkForce Pro EC-4020 Color Multifunction Printer, Epson WorkForce Pro EC-4030 Color

Multifunction Printer, Epson WorkForce Pro EC-4040 Color Multifunction Printer, Epson

WorkForce Pro ET-8700 EcoTank All-in-One Supertank Printer, Epson WorkForce Pro WF-

3720 All-in-One Printer, Epson WorkForce Pro WF-3730 All-in-One Printer, Epson WorkForce

Pro WF-3733 All-in-One Printer, Epson WorkForce Pro WF-3820 Wireless All-in-One Printer,

Epson WorkForce Pro WF-3823, Epson WorkForce Pro WF-4630 All-in-One Printer, Epson

WorkForce Pro WF-4640 All-in-One Printer, Epson WorkForce Pro WF-4720 All-in-One

Printer, Epson WorkForce Pro WF-4730 All-in-One Printer, Epson WorkForce Pro WF-4734

All-in-One Printer, Epson WorkForce Pro WF-4740 All-in-One Printer, Epson WorkForce Pro

WF-4820 Wireless All-in-One Printer, Epson WorkForce Pro WF-4830 Wireless All-in-One

Printer, Epson WorkForce Pro WF-4833, Epson WorkForce Pro WF-4834 Wireless All-in-One

Printer, Epson WorkForce Pro WF-5110 Network Wireless Color Printer, Epson WorkForce Pro

WF-5190 Network Color Printer with PCL/Adobe PS, Epson WorkForce Pro WF-5620, Epson

WorkForce Pro WF-5690, Epson WorkForce Pro WF-6090 Printer with PCL/PostScript, Epson

WorkForce Pro WF-6530 All-in-One Printer, Epson WorkForce Pro WF-6590 Network

Multifunction Color Printer, Epson WorkForce Pro WF-7820 Wireless Wide-format All-in-One

Printer, Epson WorkForce Pro WF-7840 Wireless Wide-format All-in-One Printer, Epson

WorkForce Pro WF-8090 Network Color Printer w/ PCL/Postscript, Epson WorkForce Pro WF-



                                            114
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 115 of 122 PageID #: 115




8590 Network Multifunction Color Printer, Epson WorkForce Pro WF-C5210 Network Color

Printer with Replaceable Ink Pack, Epson WorkForce Pro WF-C5290 Network Color Printer

with Replaceable Ink Pack System, Epson WorkForce Pro WF-C529R Workgroup Color Printer

with Replaceable Ink Pack System, Epson WorkForce Pro WF-C5710 Network Multifunction

Color Printer with Replaceable Ink Pack System, Epson WorkForce Pro WF-C5790 Color MFP

Supertank Printer, Epson WorkForce Pro WF-C5790 Network Multifunction Color Printer with

Replaceable Ink Pack System, Epson WorkForce Pro WF-C579R Workgroup Color MFP with

Replaceable Ink Pack System, Epson WorkForce Pro WF-C8190 A3 Color Printer with

PCL/PostScript, Epson WorkForce Pro WF-C8690 A3 Color MFP with PCL/PostScript, Epson

WorkForce Pro WF-C869R Network Multifunction Color Printer, Epson WorkForce Pro WF-

C878R Multifunction Color Printer, Epson WorkForce Pro WF-C879R Multifunction Color

Printer, Epson WorkForce Pro WF-M5194 Workgroup Monochrome Printer, Epson WorkForce

Pro WF-M5299 Workgroup Monochrome Printer, Epson WorkForce Pro WF-M5694, Epson

WorkForce Pro WF-M5799 Monochrome MFP Supertank Printer, Epson WorkForce Pro WF-

M5799 Workgroup Monochrome Multifunction Printer, Epson WorkForce Pro WF-R4640

EcoTank All-in-One, Epson WorkForce Pro WF-R5190 Replaceable Ink Pack System, Epson

WorkForce Pro WF-R5690 Replaceable Ink Pack System, Epson WorkForce Pro WF-R8590

Network Multifunction Color Printer, Epson WorkForce Pro WP-4010 Network Color Printer,

Epson WorkForce Pro WP-4020 Inkjet Printer, Epson WorkForce Pro WP-4023 Network

Wireless Color Printer, Epson WorkForce Pro WP-4090 Network Color Printer with PCL, Epson

WorkForce Pro WP-4520 Network Multifunction Color Printer, Epson WorkForce Pro WP-4530

All-in-One Printer, Epson WorkForce Pro WP-4533 Network Multifunction Wireless Color

Printer, Epson WorkForce Pro WP-4540 All-in-One Printer, Epson WorkForce Pro WP-4590



                                           115
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 116 of 122 PageID #: 116




Network Multifunction Color Printer with PCL, Epson WorkForce ST-2000 Supertank Color

MFP, Epson WorkForce ST-3000 Color MFP Supertank Printer, Epson WorkForce ST-4000

Color MFP Supertank Printer, Epson WorkForce ST-C8000 Supertank Color MFP Printer,

Epson WorkForce ST-M1000 Monochrome Supertank Printer, Epson WorkForce ST-M3000

Monochrome MFP Supertank Printer, Epson WorkForce WF-100 Mobile Printer, Epson

WorkForce WF-110 Wireless Mobile Printer, Epson WorkForce WF-2520 All-in-One Printer,

Epson WorkForce WF-2530 All-in-One Printer, Epson WorkForce WF-2540 All-in-One Printer,

Epson WorkForce WF-2630 All-in-One Printer, Epson WorkForce WF-2650 All-in-One Printer,

Epson WorkForce WF-2660 All-in-One Printer, Epson WorkForce WF-2750 All-in-One Printer,

Epson WorkForce WF-2760 All-in-One Printer, Epson WorkForce WF-2830 All-in-One Printer,

Epson WorkForce WF-2850 All-in-One Printer, Epson WorkForce WF-2860 All-in-One Printer,

Epson WorkForce WF-3520 All-in-One Printer, Epson WorkForce WF-3530, Epson WorkForce

WF-3540 All-in-One Printer, Epson WorkForce WF-3620 All-in-One Printer, Epson WorkForce

WF-3640 All-in-One Printer, Epson WorkForce WF-7110 Inkjet Printer, Epson WorkForce WF-

7210 Wide-format Printer, Epson WorkForce WF-7510 All-in-One Printer, Epson WorkForce

WF-7520 All-in-One Printer, Epson WorkForce WF-7610 All-in-One Printer, Epson WorkForce

WF-7620 All-in-One Printer, Epson WorkForce WF-7710 Wide-format All-in-One Printer,

Epson WorkForce WF-7720 Wide-format All-in-One Printer, Epson WorkForce WF-M1030

Monochrome Inkjet Printer, and Epson WorkForce WF-M1560 Monochrome Multifunction

Printer.

           72.   Epson has also indirectly infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by inducing others to directly infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Epson has induced the end-users, Epson’s customers, to directly infringe (literally and/or



                                                 116
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 117 of 122 PageID #: 117




under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by using

the accused products.

        73.     Epson took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause them to use the accused products in a manner that

infringes one or more claims of the patents-in-suit, including, for example, Claim 30 of the ‘782

Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

        74.     Such steps by Epson included, among other things, advising or directing

customers and end-users to use the accused products in an infringing manner; advertising and

promoting the use of the accused products in an infringing manner; and/or distributing

instructions that guide users to use the accused products in an infringing manner.

        75.     Epson has performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts constitute infringement.

        76.     Epson was and is aware that the normal and customary use of the accused

products by Epson’s customers would infringe the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent. Epson’s inducement is ongoing.

        77.     Epson has also induced its affiliates, or third-party manufacturers, shippers,

distributors, retailers, or other persons acting on its or its affiliates’ behalf, to directly infringe

(literally and/or under the doctrine of equivalents) the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent by importing, selling, offering to sell, and/or using the accused products.

        78.     Epson has at least a significant role in placing the accused products in the stream

of commerce in Texas and elsewhere in the United States.




                                                   117
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 118 of 122 PageID #: 118




          79.   Epson directs or controls the making of accused products and their shipment to

the United States, using established distribution channels, for sale in Texas and elsewhere within

the United States.

          80.   Epson directs or controls the sale of the accused products into established United

States distribution channels, including sales to nationwide retailers.

          81.   Epson’s established United States distribution channels include one or more

United States based affiliates (e.g., at least Epson Accessories, Inc., Epson America, Inc., Epson

Electronics America, Inc., Epson Portland Inc., Epson Research and Development, Inc., Sanyo

Epson Imaging Devices Corporation, Epson Global, LLC, and U.S. Epson, Inc.).

          82.   Epson directs or controls the sale of the accused products nationwide on its own

website as well as in nationwide retailers such as Best Buy, Amazon, Staples, Office Depot,

Walmart, and Target, including for sale in Texas and elsewhere in the United States, and expects

and intends that the accused products will be so sold.

          83.   Epson took active steps, directly and/or through contractual relationships with

others, with the specific intent to cause such persons to import, sell, or offer to sell the accused

products in a manner that infringes one or more claims of the patents-in-suit, including, for

example, Claim 30 of the ‘782 Patent, Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458

Patent.

          84.   Such steps by Epson included, among other things, making or selling the accused

products outside of the United States for importation into or sale in the United States, or knowing

that such importation or sale would occur; and directing, facilitating, or influencing its affiliates,

or third-party manufacturers, shippers, distributors, retailers, or other persons acting on its or

their behalf, to import, sell, or offer to sell the accused products in an infringing manner.



                                                 118
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 119 of 122 PageID #: 119




       85.     Epson performed these steps, which constitute induced infringement, with the

knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and with the knowledge that

the induced acts would constitute infringement.

       86.     Epson performed such steps in order to profit from the eventual sale of the

accused products in the United States.

       87.     Epson’s inducement is ongoing.

       88.     Epson has also indirectly infringed by contributing to the infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent. Epson has contributed to the direct infringement of

the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent by the end-user of the accused products.

       89.     The accused products have special features that are specially designed to be used

in an infringing way and that have no substantial uses other than ones that infringe the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent, including, for example, Claim 30 of the ‘782 Patent,

Claim 1 of the ‘304 Patent, and Claim 1 of the ‘458 Patent.

       90.     As described above, the special features include improved wireless

communication capabilities used in a manner that infringes the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent.

       91.     The special features constitute a material part of the invention of one or more of

the claims of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent and are not staple articles of

commerce suitable for substantial non-infringing use.

       92.     Epson’s contributory infringement is ongoing.

       93.     Furthermore, Epson has a policy or practice of not reviewing the patents of others

(including instructing its employees to not review the patents of others), and thus has been




                                                119
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 120 of 122 PageID #: 120




willfully blind of American Patents’ patent rights. See, e.g., M. Lemley, “Ignoring Patents,”

2008 Mich. St. L. Rev. 19 (2008).

          94.    Epson’s actions are at least objectively reckless as to the risk of infringing valid

patents and this objective risk was either known or should have been known by Epson.

          95.    Epson has knowledge of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent.

          96.    Epson’s customers have infringed the ‘782 Patent, the ‘304 Patent, and the ‘458

Patent.

          97.    Epson encouraged its customers’ infringement.

          98.    Epson’s direct and indirect infringement of the ‘782 Patent, the ‘304 Patent, and

the ‘458 Patent is, has been, and/or continues to be willful, intentional, deliberate, and/or in

conscious disregard of American Patents’ rights under the patents.

          99.    American Patents has been damaged as a result of the infringing conduct by

Epson alleged above. Thus, Epson is liable to American Patents in an amount that adequately

compensates it for such infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                   CLARIFICATION REGARDING PATENT EXPIRATION

          100.   For the avoidance of doubt, American Patents does not seek relief under any

asserted patent for acts occurring after the expiration of that patent.

                                           JURY DEMAND

          American Patents hereby requests a trial by jury on all issues so triable by right.

                                       PRAYER FOR RELIEF

          American Patents requests that the Court find in its favor and against Epson, and that the

Court grant American Patents the following relief:



                                                   120
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 121 of 122 PageID #: 121




       a.      Judgment that one or more claims of the ‘782 Patent, the ‘304 Patent, the ‘458

Patent, and the ‘803 Patent have been infringed, either literally and/or under the doctrine of

equivalents, by Epson and/or all others acting in concert therewith;

       b.      A permanent injunction enjoining Epson and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the ‘782 Patent, the ‘304 Patent, and the ‘458 Patent; or,

in the alternative, an award of a reasonable ongoing royalty for future infringement of the ‘782

Patent, the ‘304 Patent, and the ‘458 Patent by such entities;

       c.      Judgment that Epson account for and pay to American Patents all damages to and

costs incurred by American Patents because of Epson’s infringing activities and other conduct

complained of herein, including an award of all increased damages to which American Patents is

entitled under 35 U.S.C. § 284;

       d.      That American Patents be granted pre-judgment and post-judgment interest on the

damages caused by Epson’s infringing activities and other conduct complained of herein;

       e.      That this Court declare this an exceptional case and award American Patents its

reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285; and

       f.      That American Patents be granted such other and further relief as the Court may

deem just and proper under the circumstances.

Dated: September 15, 2021                      Respectfully submitted,

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                                                 121
Case 4:21-cv-00718-ALM Document 1 Filed 09/15/21 Page 122 of 122 PageID #: 122




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                                     122
